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                             UNITED STATES DISTRICT COURT
                               DISTRICT OF CONNECTICUT

DIONNE MORGAN HAYGOOD                  )
                                       )
        Plaintiff                      )
                                       )
v.                                     )
                                       )
TARGET CORPORATION and                 )
TARGET STORES, 1NC.                    )
     Defendants                        )                       APRIL 3, 2020

                         DEFENDANTS TARGET CORPORATION
                    AND TARGET STORES, INC.’S NOTICE OF REMOVAL

To the Judges of the United States District Court for The District of Connecticut:

        The Defendants Target Corporation and Target Stores, Inc., by and through its
undersigned counsel, and pursuant to 28 U.S.C.A. §~1332(a) and 1441 hereby remove this action
from the Superior Court, Judicial District of Hartford, State of Connecticut, to the United States
District Court for the District of Connecticut and in support of which states as follows:


(1)     The Plaintiff served an action against Defendants Target Corporation and Target Stores
Inc., on or about March 9, 2020, filed on April 1, 2020, entitled Dionne Morgan Haygood v.
Target Corporation and Target Stores, Inc., HHD-CV-XX-XXXXXXX-S, bearing a return date of
April 7, 2020 and made returnable to the Judicial District of Hartford. A copy of the Summons
and Complaint is attached hereto as Exhibit “A”.


(2)    In the Complaint, the Plaintiff Dionne Morgan Haygood asserts claims for common law
negligence and carelessness against the Defendants alleging that the Plaintiff Dionne Morgan
Haygood sustained physical injuries and damages when she pushed her shopping cart in the
parking lot into a hole causing the shopping cart to strike plaintiffs leg at the Target store in
Windsor, Connecticut on March 6, 2018. The Plaintiff is claiming physical injuries, some of
which are stated to be “permanent”, that include injuries to her right leg, right foot, right knee
and lower back. Although liability and damages are disputed by the Defendants, any award in
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favor of the Plaintiff could potentially exceed the jurisdictional threshold of $75,000 given the
claims made by the Plaintiff as set forth in the Complaint.


(3)    Target Stores, Inc. and Target Corporation are Minnesota corporations with a principal
place of business in Minneapolis Minnesota.


(4)    Plaintiff Dionne Morgan Haygood is a resident, citizen and is domiciled in Fairfield,
Connecticut. She provided an address of 71 Custer Drive, Windsor, Connecticut on the
Summons dated March 5, 2020 and filed on April 1, 2020.


(5)    The Court has jurisdiction in the above-captioned matter, pursuant to 28 U.S.C.A.     §
133 2(a)( 1), in that the matter is between citizens of different states and the amount in
controversy potentially exceeds the sum or value of $75,000.00 based upon the claims made by
the Plaintiff. Therefore, this action may be removed to the United States District Court for the
District of Connecticut pursuant to 28 U.S.C.A.    §~   1332 and 1441.


(6)    This Notice of Removal is being filed within thirty (30) days of Defendants being
notified of this lawsuit and Defendants Target Corporation and Target Stores, Inc., have
complied with all requirement of 28 U.S.C.A. § 1446.


       WHEREFORE, Defendants Target Corporation and Target Stores, mc, respectfully
request that the above action be removed from the Superior Court, Judicial District of Hartford,
State of Connecticut, to this Honorable Court.

                                       DEFENDANTS TARGET CORPORATION and
                                       TARGET STORES, INC.

                                         Is! Dawn Neborsky_#27985
                                       Dawn M. Neborsky, Esq.
                                       Bonner, Kiernan, Trebach & Crociata
                                       40 Court Street
                                       Boston, MA 02108
                                       Fed. Bar No. 27985
                                       617-426-3900
                                       dneborsky@bonnerkieman.com
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                                  CERTIFICATE OF SERVICE

        This is to certify that on this 3rd Day of April 2020 a copy of the foregoing was filed
electronically and served by mail on anyone unable to accept electronic filing. Notice of this filing
will be sent by e-mail to all parties by operation of the court’s electronic filing system or by mail to
anyone unable to accept electronic filing as indicated don the Notice of Electronic Filing. Parties
may access this filing through the court’s CM!ECF System.

Elizabeth K. Adams
41 B New London Turnpike
Suite 7C
Glastonbury, CT 06033


                                               /s/Dawn M Neborskv
                                               Dawn M. Neborsky
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                EXHIBIT A
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 SUMMONS           -   CIVIL                                                           For information on                              STATE OF CONNECTICUT
 JD-CV-1 Rev. 2-20                                                                     ADA accommodations,
 C.G.S. §~ 51-346,51-347, 51-349, 51-350, 52-45a, 52-49, 52-259;                       contact a court clerk or
                                                                                                                                           SUPERIOR COURT ~
 P.S. §~3-1 through 3-21, 8-1, 10-13                                                                                                                      www.judct.gov         .4~
                                                                                       go to: www.Jud.ct.govIADA.
 Instructions are on page 2.
~ Select If amount, legal Interest, or property in demand, not including Interest and costs, is LESS than $2,500.
j~J    Select If amount, legal interest, or property In demand, not including interest and costs, Is                        $2,500 or MORE.
~ Select If claiming other relief in addition to, or in place of, money or damages.

TO: Any proper officer
By authority of the State of Connecticut you are hereby commanded to make due and legal service of this summons and attached complaint
Address of court clerk (Number street town and zip code)                                                 Telephone number of clerk                    Return Date (Must be a Tuesday)
 95 Washington Street, Hartford CT 06106                                                                 ( 860) 548     —   2700                      AprIl 7 2020
F~J Judicial District     G.A.        At (City/Fawn)                                                                                       Case type code(See list on page 2)
EJ Housing Session       Number:  ~    Hartford   —                                                                                         Major: T                 Minor: 03
For the plaintiff(s) enter the appearance of
Name and address of attorney, law firm or plaintiff itself-represented (flumoar, street, town anti zip cocio~                                   Juris number (ifattarnoy or iaw nrm~
Elizabeth Adams, The Adams Law Firm, P.C., 41B New London Tpke., 7C, Glastonbury, CT 06033                                                      422406
Telephone number                              Signature of plaintiff (if self-represented)
(860) 724—1300
The attorney or law firm appearing for the plaintiff, or the plaintiff if                                       E.maIi address for dalivery of papers under Section 10-1~3 of the
self-represented, agrees to accept papers (service) electronically                                              Connecticut Practice Book (if agreed)
in this case under Section 10 13 of the Connecticut Practice Book                      E~i   Yes   LI   No      eadams@ekadamslaw corn
    Parties               Name(Last, First, Middle lnItiaV and address of each party ~Number; street; P.O. Box; town; state; zip; country, if nat USA)
     First             Name: Dioñno Morgan Haygood                                                                                                     P 01
   plaintiff                 71 CUster Drive, Windsor, CT 06095
                       Address:
• Additional           Name:                                                                                                                           P.02
   plaintiff           Address:
     First             Name:    Target Corporation                                                                                                                                     0-01
  defendant            Address: 1000 Nichollet Mall, Minneapolis, MN 55403
  Additional           Name: Target Stores, Inc. do Agent for Service: CT Corporation System                                                                                           0 02
  defendant            Address: 67 Burnslde Avenue, East Hartford, CT 06108
  Additional           Name:                                                                                                                                                           0-03
  defendant            Address:
  Additional           Name:                                                                                                                                                           0.04
  defendant            Address:
Total number of plaintiffs: I                              Total number of defendants: 2                                  LI Form JD-CV-2 attached for additional parties
Notice to each defendant
1. You are being sued. This is a summons in a lawsuit. The complaint attached states the claims the plaintiff is making against you.
2 To receive further notices you or your attorney must file an Appearance (form JD CL 12) with the clerk at the address above Generally,
    it must be filed on or before the second day after the Return Date The Return Date is not a hearing date You do not have to come to
   court on the Return Date unless you receive a separate notice telling you to appear.
3 if you or your attorney do not file an Appearance on time a default judgment may be entered against you You can get an Appearance
   form at the court address above, or on-line at https:Iljud.ct.govlwebforms!.
4 If you believe that you have insurance that may cover the claim being made against you in this lawsuit you should Immediately contact
   your Insurance representative. Other actions you may take are described In the Connecticut Practice Book, which may be found in a
   superior court law library or on-line at https:Ilwww.jud.ct.govlpb.htm.
5. If you have questions about the summons and complaint, you should talk to an attorney.
   The court staff Is not allowed to gIve advice on legal matters.
Date                    Slg~~ and select proper box)                                         ~ Commissioner of Superior Court       Name of parson signing
03/0512020                                                                                   LI                         Clerk        Elizabeth Adams, Esquire
ifthis summons is signed by a C erk:                                                                                       For Court Use Only
a. The signing has been done so that the plaintiff(s) will not be denied access to the courts.                   File Date
b. It is the responsibility of the plaintiff(s) to ensure that service is made in the manner provided by law.
c. The court staff is not permitted to~giveany legal advice in connection with any lawsuit.
d The Clerk signing this summons at the request of the plaintiff(s) is not responsible in any way for any
    errors or omissions In the summons, any allegations contained In the complaint, or the service of the
    summons or complaint.
I certify I have read and Signed (Self-represented plaintiff)                                  Date              Docket Number
understand the above:
                              1111       QfiL1I~~f                       Page 1 of 2                   ls~ellt~.QmL1
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Instructions
 I. Type or print legibly. If you are a self-represented party, this summons must be signed by a clerk of the court.
2. If there is more than one defendant, make a copy of the summons for each additional defendant. Each defendant must receive a copy of
     this summons. Each copy of the summons must show who signed the summons and when it was signed. If there are more than two
    plaintiffs or more than four defendants, complete the Civil Summons Continuation of Parties (form JD-CV-2) and attach it to the original
     and all copies of the summons.
3. Attach the summons to the complaint, and attach a copy of the summons to each copy of the complaint. Include a copy of the Civil
     Summons Continuation of Parties form, if applicable.
4. After service has been made by a proper officer, file the original papers and the officer’s return of se,vice with the clerk of the court.
5. Use this summons for the case type codes shown below.
    Do ~ use this summons for the following actions:
    (a) Family matters (for example divorce, child support,               (e) Administrative appeals
         custody, paternity, and visitation matters)                      (I) Proceedings pertaining to arbitration
    (b) Any actions or proceedings in which an attachment,
                                                                          (g) Summary Process (Eviction) actions
         garnishment or replevy is sought
                                                                          (h) Entry and Defamer proceedings
    (c) Applications for change of name
                                                                          ~ Housing Code Enforcement actions
    (ci) Probate appeals


Case Type Codes
     MAJOR        CODE                                                                      MAJOR          CODE
 DESCRIPTION                               MINOR DESCRIPTION                                               Majurl                    MINOR DESCRIPTION
                                                                                          DESCRIPTION      Minor
 Contracts        COO      Corisiruction -All other                                      Property          POD      Foreclosure
                  C ID     Constwction -State and l.ecal                                                   plo      Partition
                  C 20     Insurance Policy                                                                P20      Quiet Title/Discharge of Mortgage or Lien
                  C 30     SpecifIc Parfonnance                                                            P 30     Asset Forfeiture
                  C 40     Coflectioris                                                                    P 90     All other
                  C 50     UninsurediUnderinsured Motorist Coverage
                  C 60     Uniform Limited UabilityCompsnyAct—C.G,$, 34243
                  C 90     All other                                                     Torts (Other      T 02     Defective Promises. Private - Snow or Ice
                                                                                         than VehIcular)   7 03     Defective Premises - Private - Other
EmInent            EDO     State Highway Condemnation                                                      Til      Defective Premises. Public. Snow or Ice
Domain             E 10    Redevelopment Condemnation                                                      T 12     Defective Premises - Public - Other
                   E20     Other State or Municipal Agencies                                               7 20     Products Liability - Other than Vehicular
                   E30     Public Utilities & Gas Transmission Companies                                   T 28     Malpractice - Medical
                   E 90    At other                                                                        T29      Malpractice. Legal
                                                                                                           T 30     Malpractice. All other
Housing           RIO      I-lousing. Return of Security Deposit                                           T40      Assauft and Battery
                  H 12     Housing- Rent arid/or Damages                                                   T 50     Defamation
                  H 40     Housing - Housing - Audita Querelallnjunction                                   T 61     Asrimals.Dog
                  H 50     HouSing- A~inistrativeAppeaJ                                                    T 69     Airirnals Other
                  H 60     HousIng. Municipal Enforcement                                                  770      False Arrest
                  H90      Houaing.MOther                                                                  T 71     Fire Damage
                                                                                                           T 90     All other
Miscellaneous     N   00   Injunction
                  N   10   Receivership                                                  Vehicular Torts   V Dl     Motor Vehicles’ . Driver and/ac Passenger(s) vs. Driver(s)
                  M   16   ReceivershIp for Abandoned/Blighted Property                                    V 04     Motor Vehicles’ - Pedestrian vs. Driver
                  N   20   Mandamus                                                                        V 05     Motor Vehicles’.. Property Damage only
                  N   30   Habeas Corpus (extradition, release from Penal Institution)                     V 06     Motor Vehicle’ Products Liablity Including Warranty
                  N   40   ArbitratIon                                                                     V09      Motor Vehicle’- All other
                  M   50   Declaratory Judgment                                                            VII)     Boats
                  M   63   Bar Discipline                                                                  V 20     Airplanes
                  M   66   Deportment of Labor Unemployment Compensation                                   VSO      Ralroads
                           Enforcement                                                                     V40      Snowmo~les
                  N   68   Bar Discipline - Inactive Status                                                V90      Allother
                  N   70   Municipal Ordinance and Regulation Enforcement                                            ‘Motor VehIcles include cars, bucks,
                  N   80   Foreign Civil Judgments. C.G.S. 52-604 & C.O.S. SOa.30                                     motorcycles, arid motor scooters.
                  M   83   Small Claims Transfer to Regular Docket
                  N   84   Foreign Protective Order
                                                                                         Wills, Estates    Wi 0     Conxtructiorr of Wills and Trusts
                  N   89   CHRO Action In the Public Interest- PA. 19.93                 and Trusts        W 90     All other
                  N   90   All other




                                                                               Page 2 o12
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RETURN DATE: APRIL 7, 2020                                 :         SUPERIOR COURT

DIONNE MORGAN-HAYGOOj)                                     :         JUDICIAL DISTRICT

VS.                                                        :         OF HARTFORD

TARGET CORPORATION, and/or TARGET                           :        MARCH 5, 2020
STORES, INC.


                                            COMPLAINT
        1.     At all times mentioned herein, the Plaintiff> DIONNE MORGAN-HAYGOOD

 (“Plaintiff’) was a resident of Windsor, County of Hartford, State of Connecticut.

       2.      At all times mentioned herein, the Defendants TARGET CORPORATION

 and/or TARGET STORES, iNC. (collectively “Target” of Defendants), a corporation licensed

 to transact business in the State of Connecticut, was in possession and control of a retail store

known as “Target,” Store No. 2213, located at 1075 Kennedy Road in Windsor, Connecticut.

       3.      On or about March 6, 2018, at approximately 9:10 a.m., Plaintiff was a business

invitee at the defendants’ store and was walking while pushing a shopping cart in the parking lot,

which was in the possession and control of Defendants.

       4.      A.t said time and place, the Plaintiff was pushing the shopping cart for the purpose

of shopping for and purchasing merchandize, when suddenly and without warning, the front

wheel(s) of the shopping carriage got caught in a deep hole in the parking lot where asphalt was

broken up and missing.

       5.      This action of the front wheel(s) of the carriage falling into the hole caused the rear

of the carriage, which was being pushed by the plaintiff, to be propelled upwards in a jerking



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 motions suddenly and with great force, causing the carriage to hit her right shin area. The force

 of the impact caused immediate and severe pain, as well as a cut the Plaintiff’s leg.

       6.      The sudden impact of the cart against the Plaintiff’s leg caused the plaintiff tojump

 and/or brace herself with her feet, which sudden response caused severe pain and injury to the

 muscles in her right foot.

       7.      Said incident, and Plaintiff’s serious personal injuries and losses, were caused by

 the negligence and/or carelessness of Target, its employees, and/or agents, in one or more of the

 following ways:

               a) It failed to reasonably inspect the Premises in order to ascertain the unsafe,
                  dangerous, and defective conditions then and there existing specifically, the
                                                                                        —


                  hole in the asphalt;
               b) It allowed a dangerous condition to exist on the Premises under circumstances
                  where it knew, or should have known, that it would create an unreasonable risk
                  of harm to invitees such as the Plaintiff, and that harm to invitees such as
                  Plaintiff was reasonably foreseeable,
               c) It failed to warn Plaintiff or other invitees of said dangerous condition, although
                  in the exercise of reasonable care it could have and should have done so;
               d) It failed to take proper steps to remove, remedy and/or otherwise abate or
                  correct said dangerous condition, although in the exercise of reasonable care it
                  could have and should have done so;
               e) It failed to properly maintain the Premises, although in the exercise of
                  reasonable care it could have and should have done so;
               f) It failed to erect signs and/or barriers around the dangerous condition, although
                  in the exercise of reasonable care it could have and should have done so;
               g) It failed to properly train and/or instruct employees, agents, and/or servents to
                  keep the Premises safe for its invitees, although in the exercise of reasonable
                  care it could have and should have done so; and
               h) It failed to establish and/or follow procedures for protecting its invitees from
                  divots and wholes from missing and/or cracked asphalt on the Premises,


                                                    2
                                        THE ADAMS LAW FIRM, P.C.
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                    although in the exercise of reasonable care it could have and should have done
                    so.
        8.      As a result of the negligence and carelessness of Target, Plaintiff sustained and

 suffered serious personal injuries, damages and losses, some or all of which may be permanent in

nature, including, but not limited to, injuries to her right leg, right foot, right knee and lower back;.

chronic and severed pain; change of gait and associated damages; and throbbing, swelling,~

 soreness, stiffness and disability.

        9.      The effects of Plaintiffs injuries, as aforesaid, are likely to be permanent in nature;

additionally, she has suffered, and will continue in the future to suffer, great pain and mental

anguish, and her movements and activities will be restricted, all to her further loss and damage.

        10.     As a direct and proximate result of said incident, and the resulting injuries, Plaintiff

has incurred substantial medical expenses. In addition, it is likely that she will be forced to incur

further medical expenses in the future, all to her further loss and damage.

        11.     As a direct and proximate result of said incident, and the resulting injuries, Plaintiff~

has lost earnings and/or earning capacity, all to her further loss and damage.

        ~2.     As a direct and proximate result of said incident, and the resulting injuries, Plaintiff

has been unable, and will be in the future unable, to carry                  Out   her everyday activities of life,

thereby sustaining further loss and damage.




                                                          3
                                         THE ADAMS LAW FIRM, PC.
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WHEREFORE, the Plaintiff claims against the Defendants:

             Judgment; and

      2.     Money damages; and

      3.     Any other relief that the Court may deem appropriate.

      Dated at Hartford, Connecticut this 5th day of March 2020.


                                               THE PLAINTIFF,
                                               DION1’~E ORGAN-HAYGOOD


                                               BY: ~
                                               Elizab~tf’k, Ad4h~s, Esquire
                                               The Adams Law Firm, P~C.
                                               41B New London Turnpike, Suite 7C
                                               Portland, CT 06033
                                               Phone: 860-724-1300
                                               Fax: 860-724-1302
                                               Juris No.: 422406
                                               Email: eadai.ns(dek.adamslaw.com




                                                  4
                                      THE ADAMS LAW FIRM, P.C.
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                                  TEL (660) 724-1300 .FAX (860) 724-1302
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RETURN DATE: APRIL 7, .2020                             :         SUPERIOR COURT

DIONNE MORGAN-HAYGOOI)                                  :         JUDICIAL DISTRICT

VS.                                                     :         OF HARTFORD

TARGET CORPORATION, and/or TARGET                       :         MARCH 5, 2020
STORES, iNC.

                      STATEMENT OF AMOUNT IN DEMAND

         The amount in demand exclusive of interest and costs, is in excess of FIFTEEN

THOUSAND DOLLARS ($15,000.00).

                                             THE PLAiNTIFF,
                                             DIONNE MORGAN-HAYGOOD



                                             BY:____________________
                                             Elizabeth K. Ada s, Esquire
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                                                  5
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